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                          IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE


In re:                                                  )        Chapter 11
                                                        )
W. R. GRACE & CO., et al., 1                            )        Case No. 01-01139 (AMC)
                                                        )        (Jointly Administered)
                  Reorganized Debtor.                   )
                                                        )

                                        CERTIFICATE OF SERVICE


                  I, James E. O’Neill, hereby certify that on the 13th day of July, 2021, I caused a

copy of the following document to be served on the individuals on the attached service list in the

manner indicated:

                  Notice of Motion for an Order: (I) Enforcing Against Rune Kraft the Plan
                  and Confirmation Claim Preclusion Bars to Post-Bar Date Assertion of
                  Administrative Expense Claims; and (II) Compelling Rune Kraft to Dismiss
                  With Prejudice His Complaint Against the Reorganized Debtor in the Matter
                  Captioned Kraft V. Chevron Corp. et al., Case No. 2:21-CV-00575-DJH (the
                  “Arizona-Chevron Litigation”); and

                  Motion for an Order: (I) Enforcing Against Rune Kraft the Plan and
                  Confirmation Claim Preclusion Bars to Post-Bar Date Assertion of
                  Administrative Expense Claims; and (II) Compelling Rune Kraft to Dismiss
                  With Prejudice His Complaint Against the Reorganized Debtor in the Matter
                  Captioned Kraft V. Chevron Corp. et al., Case No. 2:21-CV-00575-DJH (the
                  “Arizona-Chevron Litigation”).



                                                            /s/ James E. O’Neill
                                                            James E. O’Neill (Bar No. 4042)




    1    W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc., or “Grace”) is the sole remaining Reorganized Debtor and
         Case no. 01-1139 is the sole remaining open chapter 11 case.




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WR Grace – Rune Kraft Service List
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Document No. 125269.1
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02 – Overnight Delivery
02 – Email


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